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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 IN RE GEORGIA SENATE BILL 202                              Master Case No.:
                                                            1:21-MI-55555-
                                                            JPB

 THE NEW GEORGIA PROJECT, et al.,

                          Plaintiffs,                       Civil Action No.:
                    v.                                      1:21-cv-01229-
                                                            JPB
 BRAD RAFFENSPERGER, in his official capacity
 as the Georgia Secretary of State, et al.,

                          Defendants,

 REPUBLICAN NATIONAL COMMITTEE, et al.,

                          Intervenor-Defendants.

      DECLARATION OF UZOMA NKWONTA IN SUPPORT OF
     NGP PLAINTIFFS’ RENEWED MOTION FOR PRELIMINARY
                        INJUNCTION

I, Uzoma Nkwonta, hereby declare as follows:

      1.    I am over the age of 18 and competent to make this declaration. I am

an attorney with the law firm Elias Law Group LLP, and am counsel for Plaintiffs

New Georgia Project, Black Voters Matter Fund, Rise, Inc., Elbert Solomon, Fannie

Marie Jackson Gibbs, and Jauan Durbin. I submit this declaration to provide the
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Court true and correct copies of certain documents submitted in support of NGP

Plaintiffs’ Renewed Motion for Preliminary Injunction:

      2.    Exhibit 1 is a true and correct copy of excerpts of the February 27,

2023 deposition transcript of Gregory W. Edwards.

      3.    Exhibit 2 is a true and correct copy of excerpts of the March 2, 2023

deposition transcript of Keith E. Gammage.

      4.    Exhibit 3 is a true and correct copy of excerpts of the March 7, 2023

deposition transcript of the Georgia State Election Board.

      5.    Exhibit 4 is a true and correct copy of the declaration of Billy Honor,

dated May 16, 2023.

      6.    Exhibit 5 is a true and correct copy of the declaration of Mary-Pat

Hector, dated May 16, 2023.

      7.    Exhibit 6 is a true and correct copy of the declaration of Christopher

G. Johnson, dated May 17, 2023.

      8.    Exhibit 7 is a true and correct copy of the declaration of Jauan Durbin,

dated May 17, 2023.




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Respectfully submitted this 17th day of May, 2023,

                                                     /s/ Uzoma N. Nkwonta
                                                     Uzoma N. Nkwonta
                                                     ELIAS LAW GROUP LLP
                                                     250 Massachusetts Ave NW
                                                     Suite 400
                                                     Washington, D.C. 20001
                                                     Telephone: (202) 968-4490
                                                     unkwonta@elias.law

                                                     Counsel for Plaintiffs



                          CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2023, I electronically filed this document with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.


Dated: May 17, 2023                                   /s/ Uzoma N. Nkwonta
                                                      Uzoma Nkwonta

                                                      Counsel for Plaintiffs




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